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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED ST ATES DISTRICT COURT
                                                                  for the
                                                            District of Oregon

                  United States of America
                                                                                     REDACTED
                               v.
                                                                             CaseNo.     1:18-mj-~~-CL.
                    Gregory Lee Rodvelt


                           Defendanl(s)


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   September 7, 2018              in the county of ----"J--"o"""se"""p'-h-'-in-'e;___ _ _ in the
                       District of              Oregon           , the defendant(s) violated:

           Code Section                                                          Offense Description
Title 18, United States Code,                    Assault of a Federal Officer
Sections 111 (a) and (b)




         This criminal complaint is based on these facts:
Please see attached affidavit of FBI Special Agent Jeffrey Gray.




         ~ Continued on the attached sheet.




Sworn to before me and signed in my presence.


Date:    '1) /()
City and state:                           Medford, Oregon                           MARK D. CLARKE. U.S. Magistrate Judge
                                                                                                  Printed name and title
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DISTRICT OF OREGON, ss:                AFFIDAVIT OF JEFFREY M. GRAY

                           Affidavit in Support of a Criminal Complaint


       I, Jeffrey M. Gray, being duly sworn, do hereby depose and state as follows:

                            Introduction and Agent Background

       1.      I am a Special Agent with the Federal Bureau oflnvestigation (FBI), and have

been since April 21, 1991. I am assigned to the Medford Resident Agency of the FBI. My

responsibilities include conducting investigations pertaining to assaults on federal agents and

investigations pertaining to the unlawful possession of explosives and improvised explosives

devices. My training and experience includes attending the FBI Academy at Quantico, Virginia.

I have attended numerous other training sessions concerning criminal investigations and I have

conducted investigations and executed search warrants involving the possession of explosives

and destructive devices.

       2.      I submit this affidavit in support ofa criminal complaint and arrest warrant

charging Gregory Lee Rodvelt, date of birth XX/XX/1951, in violation of Title 18, United States

Code, Sections 11 l(a) and (b), Assaulting a Federal Officer. As set forth below, there is

probable cause to believe, and I do believe, that Gregory Lee Rodvelt committed Assault on a

Federal Officer, in violation of 18 U.S.C. §§ 11 l(a) and (b).

                                          Applicable Law

       3.      Title 18, United States Code, Section 11 l(a), provides that it is unlawful to

forcibly assault any person designated in section 1114 while that person is engaged in the

performance of his official duties. Title 18, United States Code, Section 1114 provides that it is

unlawful to kill or attempt to kill any officer of the United States.
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                                  Statement of Probable Cause

       4.      The property of 1000 Dreamhill Drive, Williams, Oregon was recently owned/

occupied by Gregory Lee Rodvelt until August 22, 2018, when Josephine County Circuit Judge

Robert S. Bain signed an order (Josephine County Civil Case 16CV13666) appointing Attorney

Joseph Charter as the receiver of the property and authorizing Charter to take possession of the

property, clean the property and ultimately sell the property.

       5.      On September 7, 2018, at about 9:00am, Oregon State Police (OSP) Bomb

Technicians                                      a n d - and FBI Bomb Special Agent

                arrived at the property of l 000 Dreamhill Drive, Williams, Oregon. Law

enforcement personnel were acting at the request of Joseph Charter.

       6.      Charter enlisted the assistance of the OSP and FBI Bomb Technicians to make the

property safe because in April of2017, Rodvelt was arrested in Arizona and charged with

unlawful possession of explosives. However, on August 16, 2018, Rodvelt was released from

custody in Arizona to attend to the aforementioned civil matter in Josephine County. After

being appointed receiver of the property, Charter learned from neighbors that Rodvelt had

recently been to the property. Moreover, on August 29, 2018, when Charter arrived at the

property he noted a sign warning that the property was protected by improvised devices.

       7.      When the OSP and FBI Bomb Technicians arrived at the property, they noted a

mini van parked in a manner as to prevent vehicles from driving past the front gate. The

technicians discovered that the minivan was rigged with two booby traps. The booby traps

utilized steel traps with steel teeth commonly used to trap wild animals. No explosives were

incorporated with the traps. The technicians rendered the traps safe and continued to approach


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the residence. As they neared the gate closest to the residence, they noted a circular hot tub spa

near the gate. The spa was sitting on edge. Upon closer examination, the technicians

discovered that the spa was rigged in such a manner that when the gate was opened it would

activate a mechanical trigger that would cause the spa to roll towards the person at the gate much

like a scene from the movie "Indian Jones - Raiders of the Lost Ark" in which actor Harrison

Ford is forced to outrun a giant stone boulder that he inadvertently triggered by a booby trap

switch.

          8.     OSP Bomb Technicians- and-concentrated on the exterior

garage while OSP Technician- and FBI Bomb S A - concentrated on the exterior of

the residence. Located within the garage and next to one of the overhead garage doors was a

wood rat trap. The trap was altered to accommodate a shotgun shot shell. The trap was not set,

but it was situated in such a manner that had it been set when the garage door was lifted the trap

would be tripped. The bar of the trap would fall on the shot shell primer with the apparent

intended results being the discharge of the shotshell. No other items ofnote were discovered

within the garage.

          9.     OSP Bomb Technician- and FBI Bomb SA -                    checked out the

perimeter of the residence and discovered all of the windows were barred from within and that

the rear door was secured by a heavy-duty security door that opened inward. OSP -             and

FBI Bomb SA -           went to the front of the residence and cleared the front deck area.

          I 0.   All four personnel gathered at the front door. Based upon the presence of the

aforementioned booby traps they decided to employ the use of an explosive charge to breach the

front door of the residence. The breaching was successful. Once entry was gained, the


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        technicians immediately noted a length of mono filament (the other booby traps utilized

        monofilament line) behind the door in between the door and the door jam. They could not

        immediately see where the filament terminated. FBI Bomb S A - and OSP Bomb Tech

        11111 made limited entry into the residence with OSP Bomb Technician- right behind.
        OSP Bomb Technician-was standing in the threshold of the door. A wheelchair was

        immediately in front of the bomb techs. The wheelchair was moved forward (unknown at this

        time by whom) at which time an explosion occurred. OSP Bomb Technician -

        described the explosion as very loud and caused him to become disoriented. FBI Bomb SA

        -        is believed to have said "I'm hit!" -      remained standing but a significant amount of

        blood was observed coming f r o m - leg. All personnel retreated from the residence to a

        safe distance. First aid was administered to -        and he was transported to Three Rivers

        Hospital in Grants Pass, Oregon. An X-ray showed an unknown foreign object irnbedded in

        -         left leg slightly below the knee. The unknown object appeared to be shaped like a small

        pellet. -        has since been treated and released from the hospital.

                  11.    I searched the National Criminal Information Center (NCIC) and the Oregon

        Department of Motor vehicles regarding Gregory Lee Rodvelt, date of birth XX/XX/1951. A

        review ofRodvelt's criminal history determined that he has several arrests but no felony

        convictions. The arrests include charges such as DUI, Domestic Abuse and Dangerous Drugs.

        The criminal history shows that Rodvelt has an 11/07/2000 criminal misdemeanor conviction for

        domestic violence. The criminal history also shows that he was arrested on April 5, 2017 for
I   ~


        aggravated assault -deadly weapon in Maricopa, Arizona. I believe that this arrest is related to

        the aforementioned arrest involving explosives. According to the Oregon Department of Motor


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Vehicles, on October 2, 2017, Rodvelt was issued Oregon driver's license number 5864988.

The address appearing on the license is 1000 Dreamhill Drive, Williams, Oregon 97544.

        12.    On September 7, 2018 at about 9:20pm, Rodvelt was contacted by FBI Special

Agent                    as Rodvelt was exiting the Albertson's Grocery Store in Surpirse,

Arizona. Rodvelt was told he was being interviewed regarding his property in Oregon. During

the interview, Rodvelt stated that he set up fishing line and a tripwire across the property gate

that went to a round hot tub that was on its side set to roll down the hill and hit whoever comes

through the gate. Rodvelt described it by referencing the "stone rolling down in the Indiana

Jones Movie." Rodvelt also talked of other tripwires on the property and a spike strip made of

nails and wood which was designed to flatten tires. Rodvelt did not provide additional specifics

about the tripwires. The interview was concluded and Rodvelt departed.

        I 3.   On September 8, 2018, after being taken into custody on a state arrest warrant,

Rodvelt was advised of his Miranda Rights. Thereafter, Rodvelt was again asked to identify any

threats (to agents executing a search warrant at the property). Rodvelt responded "I would not

race right in." Rodvelt asked that law enforcement wait 24 hours and said that he should call

someone. When asked for the name of the entity, Rodvelt declined saying "I don't want to get

anyone else involved."

        14.    On September 8, 2018, a search warrant signed by US Magistrate Judge Mark D.

Clarke was executed at Rodvelt's residence at 1000 Dreamhill Drive, Williams, Oregon.

Among the items of evidence seized pursuant to the search warrant was a device manufactured

from a rat trap, a piece of wood and a piece of pipe. An expended .410 shotgun shell casing was

also recovered. I believe that this device was used to fire the .410 shotgun shell that injured FBI


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Special Agent-· The aforementioned wheelchair was also seized. Examination of the

wheelchair resulted in locating what appears to be damage caused by numerous .410 shotgun

shell pellets.

                                             Conclusion

        15.      Based on the foregoing, I have probable cause to believe, and I do believe, that

Gregory Lee Rodvelt, committed assault of a federal officer, in violation of Title 18, United

States Code, Section 11 l(a) and (b).

        16.      Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Judith

Harper, and AUSA Harper advised me that in her opinion the affidavit and complaint are legally

and factually sufficient to establish probable cause to support the issuance of the requested

criminal complaint and arrest warrant.




Subscribed and sworn to before me this      10




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